Case 3:06-cr-00211-CFD Document 44-6 Filed 06/02/09 Pagelof3

Exhibit 5
Case 3:06-cr-00211-CFD Document 44-6 Filed 06/02/09 Page2of3

Blairfinde
Portland Road
Greystones
Go Wicklow
ireland

The Honorable Christopher F. Droney
United States District Court

Abraham Ribicoff Federal Building
450 Main Street, Suite 228

Hartford, CT 06103

Monday, 23 March 2009

Re: United States v. Jonn Houldsworth

Dear Judge Droney,

We are family friends of John and Ruth Houldsworth and live near thern in Ireland. |, Graham
Brooks am a Fund Manager and have worked as a Director of F&C Ireland, part of the F&C
Group headquartered in Londen for the last nine years. |, Nicky Brooks have been the
principal homemaker and have recently returned to my nursing profession. We have three
children, Ben (17), Hannah (13) and Serena (11} and moved to Ireland from London sixteen
years ago.

We are submitting this jetter on behaif of John in connection with the Court's determination of
his sentence.

We got to know John and Ruth through our children. Ben and Nick (their eldest) started
school together in 1997. Apart from the Houldsworth’s family two year stint in the US they
have been through exactly the same two schools, Indeed John flew back from the US
specially with Nick to attend the open day of the secondary schooi that the boys now attend.

John is first and foremost a family man. He has often commented that he would feel guilty if
he had cash still in his pocket when he reaches 60 and did not feel that he had provided
properly for his children to grow in whatever direction they want. It has over the last four years
been a real struggle to keep things going in terms of education fees for his three children, but
he has faced this without ever thinking of taking them out. This has meant many sacrifices in
other areas but this has not mattered to John because the most important part of his life was
being attended to.

The court case has deeply impacted John’s trust in his own judgement and how he interacts
in the business world. He found it a gruelling experience but decided to plead guilly to ensure
that the truth came out and that he could live with himself going forward. John’s background is
always to be honest with himself and his friends and this was the only way he could have

Case 3:06-cr-00211-CFD Document 44-6 — Filed 06/02/09 Page 3 of 3

survived asa person going into the case. He-has-been ducky to-have-had the wonderful
support of his wife Ruth who always wanted him to do the right thing.

|, Graham have just finished serving on the Board of Management of Ben and Nick’s school
and the one person | often thought should take over was John. He did not feel it was
appropriate to serve until this case has been finalised to ensure no dishonour affects the
school which has been in existence for 345 years.

In the meantime he contributes by taking over and running a large field hockey group of kids,
involving & teams that play every weekend during the season. This is on purely a voluntary
basis and his commitment and enthusiasm is infectious for everyone to see.

i never see John feeling sorry for himself. He is always asking about others, talking about the
next big sporting event and seeing the positive sides of what ever life throws at him. A lengthy
prison sentence would be an awful event for both John and his family to contemplate. His
children would be devastated and it would no doubt mean they would also have to leave their
school and the support structure that their friends there would provide. His eldest sor Nick Is
sitting his leaving state exams in June and this could seriously impact his future progress.

Thank you for taking the time. to read this letter sir, and we would request that you show the
greatest leniency pessibie when it comes to sentencing John.

Yours sincerely

Graham Brooks Nicky Brooks

fabew [- bo - Nicoto§ Pent,
